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                      UNITED STATES COURT OF APPEALS
                          FOR THE EIGHTH CIRCUIT

                                    ___________________

                                        No: 20-2814
                                    ___________________

                         Madeline Pavek; Ethan Sykes; DSCC; DCCC

                                            Plaintiffs - Appellees

                                                v.

            Steve Simon, In his official capacity as the Minnesota Secretary of State

                                            Defendant - Appellee

  Donald J. Trump for President, Inc.; Republican National Committee; National Republican
  Senatorial Committee; National Republican Congressional Committee; Republican Party of
                                          Minnesota

                                Intervenors below - Appellants
______________________________________________________________________________

              Appeal from U.S. District Court for the District of Minnesota
                                (0:19-cv-03000-SRN)
______________________________________________________________________________

                                         JUDGMENT

       Appellant's motion to dismiss the appeal is granted. The appeal is hereby dismissed in

accordance with the Federal Rules of Appellate Procedure 42(b).

       Appellees’ motion to dismiss is denied as moot.

       The Court's mandate shall issue forthwith.

                                                     September 18, 2020




Order Entered Under Rule 27A(a):
Clerk, U.S. Court of Appeals, Eighth Circuit.
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            /s/ Michael E. Gans
